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14

15                               UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18

19 In re: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
   ANTITRUST LITIGATION
20                                                     MDL No. 1917

21                                                     STIPULATION AND [PROPOSED]
                                                       ORDER REGARDING DISCOVERY TO
22 This Document Relates to:                           OCCUR AFTER SEPTEMBER 5, 2014
23
   CompuCom Systems, Inc. v. Hitachi, Ltd., et al.,
24 No. 11-cv-06396;

25 Electrograph Systems, Inc., et al. v. Technicolor
   SA, et al., No. 13-cv-05724;
26
   Interbond Corporation of America v.
27 Technicolor SA, et al., No. 13-cv-05727;

28


     SMRH:432338256.1                                    STIPULATION AND [PROPOSED] ORDER RE DISCOVERY
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 1
   Office Depot, Inc. v. Technicolor SA, et al., No.
 2 13-cv-05726;

 3 P.C. Richard & Son Long Island Corp., et al. v.
   Technicolor SA, et al., No. 13-cv-05725;
 4
   Schultze Agency Services, LLC, et al. v.
 5 Technicolor SA, Ltd., et al., No. 13-cv-05668;

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 1                      Defendant Tianjin Samsung SDI Co., Ltd. (“SDI Tianjin”) and Plaintiffs Interbond

 2 Corp., P.C. Richard & Son Long Island Corp., ABC Appliance Inc., Marta Cooperative of

 3 America, Inc., CompuCom Systems, Inc., Electrograph Systems Inc. and Electrograph Tech.

 4 Corp., Schultze Agency Services, LLC on behalf of Tweeter Opco, LLC and Tweeter Newco,

 5 LLC, and Office Depot (collectively, “Plaintiffs”) have conferred by and through their counsel

 6 and, subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:

 7                      WHEREAS, September 5, 2014 was the deadline to complete fact discovery in the

 8 above-captioned actions;

 9                      WHEREAS, on August 1, 2014, SDI Tianjin served its First Set of Interrogatories

10 (“SDI Tianjin’s Interrogatories”) on each of the Plaintiffs;

11                      WHEREAS, on September 5, 2014, Plaintiffs served objections and responses to

12 SDI Tianjin’s Interrogatories; and

13                      WHEREAS, SDI Tianjin and Plaintiffs have conferred in good faith and agreed

14 that Plaintiffs will serve supplemental objections and responses to SDI Tianjin Interrogatory Nos.

15 6 and 8 regarding the specific Samsung entities from whom each Plaintiff purchased CRT

16 Products no later than September 26, 2014;

17                      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between

18 counsel for the undersigned parties as follows:

19                      1.     Plaintiffs will serve supplemental objections and responses to SDI Tianjin

20 Interrogatory Nos. 6 and 8 no later than September 26, 2014; and

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 2                      2.     To the extent SDI Tianjin wishes to file a motion to compel with respect to

 3 item 1 above, it will do so no later than October 3, 2014.

 4                      The undersigned parties respectfully request that this stipulation be entered as an

 5 Order of the Court.

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 7 PURSUANT TO STIPULATION, IT IS SO ORDERED.
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          October 2, 2014
10 Dated:___________________                                    APP
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11                                                               Hon. Samuel Conti
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                                                                 United States District
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        Case 3:07-cv-05944-JST Document 2878 Filed 10/02/14 Page 5 of 5



 1 Dated: September 11, 2014                           By:       /s/ Helen C. Eckert

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                                                       CompuCom Systems, Inc., Electrograph Systems Inc.
24                                                     and Electrograph Tech. Corp., Schultze Agency
                                                       Services, LLC on behalf of Tweeter Opco, LLC and
25                                                     Tweeter Newco, LLC, and Office Depot

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                        Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of
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     this document has been obtained from each of the above signatories.
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